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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

John H. Page

1077 30" Street NW

Apt. 411

Washington, D.C. 20007

Tel: 202 352 6952

Case No.

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Plaintiff 1:20-cv-00104. CI

Donald J. Trump, in His Official
Capacity as President of the United
States, Office of the President

1600 Pennsylvania Avenue, N.W.
Washington, D.C. 20500

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Defendant
Motion for CM/ECF User Name and Password
Plaintiff submits this motion requesting permission to make filings using PACER
and affirms he has:
a) regular access to the Internet
b) the capacity to file documents and receive filings electronically on a regular basis
c) has successfully completed the entire Clerk’s Office on-line tutorial.

February 4, 2020
submitted,

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Washington, D.C. 20007 R E C E I V E D

Telephone: 202-352 6952
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Clerk, U.S. District & Bankru
pte
Courts for the District of Columbia
Case 1:20-cv-00104-CRC Document 4 Filed 02/05/20 Page 2 of 2

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

CERTIFICATE OF SERVICE:
I hereby certify that on February 5, 2020, a true copy of the foregoing “Motion for CM/ECF User
Name and Password” was served upon the court and the following by certified U.S. mail, postage

prepaid:

Donald J. Trump, in His Official Capacity as President of the United States, Office of the
President 1600 Pennsylvania Avenue, N.W. Washington, D.C. 20500

William P. Barr, U.S. Attorney General, 950 Pennsylvania Avenue, NW, Washington, DC 20530

Jessie K. Liu, U.S. Attorney for the District of Columbia, 555 Fourth Street, NW, Washington
DC 20530

